     CASE 0:12-cv-00472-MJD-FLN Document 400 Filed 08/20/14 Page 1 of 1



                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA


Jesse Ventura a/k/a James
G. Janos,
                                                        Civ. No. 12-472 (RHK/JJK)
                                   Plaintiff,           ORDER

v.

Taya Kyle, Executrix of the Estate of
Chris Kyle,

                                  Defendant.



      This matter came before the Court on the parties’ Stipulation to an extension of the

automatic stay of execution on the judgment in this case (Doc. No. 392) under Fed. R.

Civ. P. 62(a) through August 29, 2014.

      Based on the parties’ Stipulation (Doc. No. 399) and all the other files, records,

and proceedings in this case, IT IS ORDERED that the automatic stay of execution on

the judgment in this case imposed by Fed. R. Civ. P. 62(a) shall be extended through

August 29, 2014.

Dated: August 20, 2014

                                                        s/Richard H. Kyle
                                                        RICHARD H. KYLE
                                                        United States District Judge
